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          IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA            :         Criminal No. 3:08-CR-0147
                                    :
            v.                      :         (Judge Mariani)
                                    :
WILFREDO ARIEL SOLANO               :         Electronically filed




           REPLY BRIEF IN SUPPORT OF MOTION
           FOR COMPASSIONATE RELEASE AND
    REDUCTION OF SENTENCE UNDER 18 U.S.C. § 3582(c)(1)(A)




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      The government argues that Wilfredo Solano’s motion for compassionate

release under 18 U.S.C. § 3582(c)(1)(A) should be dismissed for his failure to

exhaust administrative remedies. See Doc. 66 at 1, 8-13. But this Court has already

rejected that argument, see United State v. Reyes, No. 3:16-CR-0227, slip op. at 4-5

(M.D. Pa. June 22, 2020), and indeed the U.S. Department of Justice has itself

disclaimed it, see Brief of U.S. at 5, United States v. Yanney, No. 4:15-CR-0298

(M.D. Pa. June 29, 2020).

      The only issue, therefore, is whether the risks posed to Mr. Solano from his

current confinement – particularly in light of the ongoing pandemic – constitute

“extraordinary and compelling reasons” and warrant a reduction in his sentence.

They plainly do, as shown in the opening brief. See Doc. 61. While the government

endeavors to downplay those risks, and exaggerate the need for continued

incarceration, it does not and cannot undermine that showing or truly challenge Mr.




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Solano’s entitlement to relief. 1 The motion for compassionate release should be

granted, and Mr. Solano resentenced accordingly.

Date: July 6, 2020                          Respectfully submitted,

                                            /s/ Quin M. Sorenson

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    The government boasts at one point that the institution at which Mr. Solano is
housed has no cases of COVID-19. Doc. 66 at 20. But the government says nothing
about the actual number of inmates who have been tested there. See id.
                                        2
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                         CERTIFICATE OF SERVICE

      I, Quin M. Sorenson, Esquire, of the Federal Public Defender’s Office, certify

that I caused to be served on this date a copy of the foregoing filing via electronic

case filing, and/or by placing a copy in the United States mail, first class in

Harrisburg, Pennsylvania, and/or by hand delivery, addressed to the following:

      Jaime M. Keating, Esquire
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Date: July 6, 2020                        /s/ Quin M. Sorenson
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